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 6
     Attorneys for Plaintiff,
 7   HEATHER M. STANGEL
 8
                          UNITED STATES DISTRICT COURT
 9                             DISTRICT OF NEVADA
10
     HEATHER M. STANGEL,
11                                               Case No.: 2:18-cv-01506-APG-CWH
                     Plaintiff,
12                                               NOTICE OF SETTLEMENT
13
           vs.                                   BETWEEN HEATHER M.
                                                 STANGEL AND EMG
14   EMG ACQUISITION COMPANY OF                  ACQUISITION COMPANY OF
     NEVADA, LLC D/B/A MINUTE                    NEVADA, LLC D/B/A MINUTE
15
     LOANS,                                      LOANS
16                                                                                      N
                       Defendant.                                                       O
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20         NOTICE IS HERBY GIVEN that the dispute between HEATHER M.
21
     STANGEL (“Plaintiff”) and Defendant EMG ACQUISITION COMPANY OF
22
     NEVADA, LLC D/B/A MINUTE LOANS (“MINUTE LOANS”) has been
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24   resolved on an individual basis. The parties anticipate filing a Stipulation for
25   Dismissal of the Action as to the named Plaintiff’s claims against MINUTE
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     LOANS, with Prejudice, within 60 days. Plaintiff requests that all pending dates
 1

 2   and filing requirements as to MINUTE LOANS be vacated and that the Court set a
 3
     deadline sixty (60) from present for filing a Dismissal as to MINUTE LOANS.
 4
           Dated: October 31, 2018
 5

 6
                                                  /s/ David H. Krieger, Esq.
                                                  David H. Krieger, Esq.
 7
                                                  Attorneys for Plaintiff
 8
                                                  HEATHER M. STANGEL
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